CaS€ 1-18-40167-€88 DOC 9 Filed 01/18/18 Entei’ed 01/18/18 13254:16

B2030 (Form 2030} (12/15)
UNITED STATES BANKRUPTCY COURT
EASTERN D|STR|CT OF NEW VORK
BROOKLYN D|V|S|ON
ln re Gratitude Migration |nc. Case No. 18-40167

Chapter 7

DISCLOSURE OF COMPENSAT|ON OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b). l certify that l am the attorney for the above named debtor(s) and
that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as follows:

For legal servicesl l have agreed to accept ................................................................. $6,500.00
Prior to the filing of this statement | have received $6,500.00
Ba|ance Due .................................................................................................................. $0.00

2. The source of the compensation paid to me was:

Dabtor |:| Other (specify)
3. The source of compensation to be paid to me is:
g Debtor [:| Other (specify)

4. l have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law tirm.

|:| l have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law iirm. A copy of the agreementl together with a list of the names of the people sharing in the
compensation. is attached.

5. ln retum for the above-disclosed fee, l have agreed to render legal service for all aspects of the bankruptcy case, including:

a. Ana|ysis of the debtor‘s financial situation, and rendering advice to the debtor in determining whether to tile a petition in
bankruptcy;

b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

c. Representation of the debtor at the meeting of creditors and confirmation hearingl and any adjourned hearings thereof;

 

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6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:

 

CERTIF|CATION

l certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s) in this bankruptcy proceeding

 

01117/2018 lsl Alan C. Stein
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lsl Avraham Werde

Avraham Werde
Presid'ent

